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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             OCALA DIVISION

  UNITED STATES OF AMERICA

  v.                                           CASE NO. 5:20-cr-40-Oc-28PRL

  JOSEPH SAMUEL CATALANO


           UNITED STATES’ RESPONSE IN OPPOSITION TO
       MOTION TO MODIFY CONDITIONS OF PRETRIAL RELEASE

        The United States respectfully opposes the defendant’s motion to

  modify the conditions of pretrial release in this case and, in support of its

  response in opposition, states the following:


        1.     The defendant has moved to modify the conditions of his release

  to rescind drug testing requirements. The government discussed this matter

  with Pre-Trial Services Officer Anthony Zarate. Based on his representations,

  the government objects to the motion.

        2.     The motion indicates that the mediation that the defendant is

  prescribed can cause false positives for methamphetamine usage. While this is

  possible, it is unlikely given the facts of Mr. Catalano’s case.

        3.     When Mr. Catalano was first screened by Pre-Trial Services, on

  September 9, 2020, a urine sample was taken. Notably, Mr. Catalano objected

  to the taking of a urine sample and the drug screening requirement before any
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  of this alleged false-positive concern became an issue. The officer had to wait

  for Mr. Catalano to give a sample due to his alleged inability to produce urine.

        4.     That first urine sample was submitted for analysis at the regional

  laboratory in Jacksonville. The test indicated a positive result for

  methamphetamine. Mr. Catalano denied using methamphetamine.

  Thereafter, the sample was sent to the national laboratory for a more

  comprehensive analysis. The national laboratory confirmed that the sample

  contained both amphetamine and methamphetamine and that it was from

  street drugs. In other words, the laboratory was able to confirm that Mr.

  Catalano used street drugs and did not have a false-positive from

  pharmaceutical drugs. Notably, Mr. Catalano’s wife has admitted to (and

  tested positive for) methamphetamine use. Therefore, the defendant would

  have access to the same drugs.

        5.     Mr. Catalano’s is monitored through a call-in system. When he

  calls in, the system will randomly notify him to come in for a drug screening.

  On November 4, 2020, Mr. Catalano was directed to report and give a urine

  sample. That sampled tested negative for methamphetamine. However, the

  lab notified Officer Zarate that the sample was diluted, indicating the

  likelihood that Mr. Catalano obscured the contents in his urine sample.




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        6.     The next day, on November 5, 2020, Mr. Catalano was again

  directed to provide a urine sample. This time, his sample tested positive for

  methamphetamine and he was confronted about the result. Mr. Catalano

  denied using methamphetamine. The sample was sent to the national

  laboratory for a more comprehensive analysis. Unfortunately, the sample was

  destroyed in transit and cannot be confirmed.

        7.     On November 13, 2020, Mr. Catalano again gave a urine sample

  that tested positive for methamphetamine at the regional laboratory in

  Jacksonville. That sample was successfully sent to the national laboratory and

  a complete analysis is pending.

        8.     On November 17, 2020, Mr. Catalano gave another urine

  sample. That sample is currently awaiting the initial results from the regional

  laboratory in Jacksonville.

        9.     The government submits that the results of these tests need to be

  completed before a final assessment can be offered. For these reasons, the

  government submits that there is not sufficient justification that would warrant

  a modification of the defendant’s release conditions. After the results are

  obtained, the government intends to follow-up with Officer Zarate and with

  defense counsel.




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        10.    It should be noted that the government does have serious concern

  about whether Mr. Catalano should remain at liberty if he is testing positive

  for the use of street drugs, like methamphetamine, and refusing to admit same

  to Officer Zarate. If that turns out to be the case, the government will move to

  revoke his release and remand him to the custody of the Marshal.

        11.    This matter is scheduled for a change of plea on November 30,

  2020. The government respectfully requests that the Court hold the motion in

  abeyance until that time, to allow sufficient time for testing of the samples to

  be concluded. In the meantime, we request that Mr. Catalano continue to

  report for drug screening at the direction of Pre-Trial Services.




                                                Respectfully submitted,

                                                MARIA CHAPA LOPEZ
                                                United States Attorney


                                      By:       /s/ Michael P. Felicetta
                                                Michael P. Felicetta
                                                Assistant United States Attorney
                                                Florida Bar No. 0094468
                                                35 SE 1st Avenue, Suite 300
                                                Ocala, Florida 34471
                                                Telephone: (352) 547-3600
                                                Facsimile: (352) 547-3623
                                                E-mail:      michael.felicetta@usdoj.gov




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                          CERTIFICATE OF SERVICE


         I hereby certify that on November 19, 2020, I electronically filed the

  foregoing with the Clerk of the Court by using the CM/ECF system which

  will send a notice of electronic filing to the following:


                Michael Nielsen, Esq.



                                               /s/ Michael P. Felicetta
                                               Michael P. Felicetta
                                               Assistant United States Attorney
                                               Florida Bar No. 0094468
                                               35 SE 1st Avenue, Suite 300
                                               Ocala, Florida 34471
                                               Telephone: (352) 547-3600
                                               Facsimile: (352) 547-3623
                                               E-mail:      michael.felicetta@usdoj.gov




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